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                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF LOUISIANA
                          LAFAYETTE DIVISION

 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,                     CIVIL ACTION
     PLAINTIFF,                                                    NO. 6:21-CV-03421

 v.                                                                JURY DEMAND

 DON’S SPECIALTY MEATS, INC.,
     DEFENDANT.


                                     COMPLAINT

                               NATURE OF THE ACTION

      This is an action under Title VII of the Civil Rights Act of 1964 (“Title VII”)

and Title I of the Civil Rights Act of 1991 to correct unlawful employment practices

on the basis of race and to provide appropriate relief to Kevin Arceneaux (“Mr.

Arceneaux”). As alleged with greater particularity below, the defendant, Don’s

Specialty Meats, Inc., subjected Mr. Arceneaux to a hostile work environment and

constructively discharged Mr. Arceneaux because of his race.

                               JURISDICTION & VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 451,

§ 1331, § 1337, § 1343, and § 1345. This action is authorized and instituted

pursuant to Title VII, 42 U.S.C.§ 2000e-5(f)(1) and (3), and pursuant to Title I of the

Civil Rights Act of 1991, 42 U.S.C. § 1981a.

      2.     The employment practices alleged to be unlawful were committed in

the State of Louisiana and, therefore, within the jurisdiction and venue of the

United States District Court for the Western District of Louisiana, Lafayette

Division, pursuant to Title VII, 42 U.S.C. § 2000e-5(f)(3).
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                                       PARTIES

      3.     Plaintiff, the U.S. Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the

administration, interpretation, and enforcement of Title VII and is expressly

authorized to bring this action by Title VII, 42 U.S.C. § 2000e-5(f)(1) and (3).

      4.     At all relevant times, Don’s Specialty Meats, Inc. has continuously

been a corporation doing business in the State of Louisiana and has continuously

had at least 15 employees.

      5.     At all relevant times, Don’s Specialty Meats, Inc. has continuously

been an employer engaged in an industry affecting commerce under Title VII, 42

U.S.C.§ 2000e(b), (g), and (h).

                             ADMINISTRATIVE PROCEDURES

      6.     More than 30 days prior to the institution of this action, Mr. Arceneaux

filed a charge of discrimination (“charge”) with the Commission alleging violations

of Title VII by Don’s Specialty Meats, Inc.

      7.     On or about August 2, 2021, the Commission issued to Don’s Specialty

Meats, Inc. a letter of determination (“determination”) finding reasonable cause to

believe that Don’s Specialty Meats, Inc. violated Title VII and inviting it to join with

the Commission in informal methods of conciliation to endeavor to eliminate the

unlawful employment practices and provide appropriate relief.

      8.     The Commission engaged in communications with Don’s Specialty

Meats, Inc. to provide the opportunity to remedy the discriminatory practices

described in the determination.
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       9.    On or about August 10, 2021, the Commission issued to Don’s

Specialty Meats, Inc. a notice of conciliation failure, advising that the Commission

was unable to secure a conciliation agreement acceptable to the Commission.

       10.   All conditions precedent to the institution of this action have been

fulfilled.

                               STATEMENT OF CLAIMS

       11.   Since at least 2018, Don’s Specialty Meats, Inc. has engaged in

unlawful employment practices in violation of Title VII, 42 U.S.C. § 2000e-2(a).

             A.     Don’s Specialty Meats, Inc. prepares and sells meat products

       (including boudin, cracklings, chicken, pork, and beef), prepared foods, and

       other grocery items.

             B.     Don’s Specialty Meats, Inc. has facilities in Scott, Louisiana, and

       Carencro, Louisiana.

             C.     Between 2018 and 2020, Don’s Specialty Meats, Inc. employed

       Mr. Arceneaux preparing food at the Scott facility and then later at the

       Carencro facility.

             D.     Mr. Arceneaux is African American.

             E.     Don’s Specialty Meats, Inc. always had at least 79 employees

       between 2018 and 2020. While Mr. Arceneaux was at each facility, he was

       one of just two African American employees.

             F.     Throughout his employment, Mr. Arceneaux was subjected to a

       hostile work environment because of race.
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           G.     The general manager routinely referred to Mr. Arceneaux as

     “Black boy,” “the Black boy,” or “little Black guy.” In addition, Mr. Arceneaux

     was identified as “Black boy” on the schedule; non-African American

     employees were identified by name.

           H.     The general manager and other employees routinely used racial

     slurs in the presence of Mr. Arceneaux. For example, the general manager

     said “there is a difference between being a ‘nigger’ and being a “nigga,’” that

     “once you are with a nigger you are always with a nigger,” and that another

     employee’s African American child was a “nigger baby.”

           I.     A manager told him that Don’s Specialty Meats, Inc. was hiring,

     but that applicants “just can’t be Black” and that the general manager “don’t

     want them to be Black.”

           J.     In addition to preparing food, Mr. Arceneaux was required to

     pick up trash and debris on a public road. Non-African American employees

     were not required to do this. A manager told Mr. Arceneaux that the general

     manager told the manager to have “the Black boy” do it.

           K.     On or about July 8, 2020, Mr. Arceneaux’s supervisor repeatedly

     called him a “bitch ass nigger” in the presence of other employees. Mr.

     Arceneaux immediately complained in person to several other managers. The

     supervisor, who was with Mr. Arceneaux when he complained to the

     managers, continued to call him a “bitch ass nigger” in the presence of those

     managers. The managers did not tell the supervisor to stop using the slur

     and took no other corrective action. A manager then dismissed Mr.
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      Arceneaux—but not the supervisor—for the remainder of his shift. Mr.

      Arceneaux subsequently complained in writing.

               L.     On or about July 9, 2020, the general manager told Mr.

      Arceneaux that he would not reprimand his supervisor, and in the presence

      of other employees, the general manager told Mr. Arceneaux that “he loved

      [Mr. Arceneaux], but [that he] was still a bitch ass nigger.”

               M.    The harassment described herein was severe or pervasive and

      materially altered the terms or conditions of Mr. Arceneaux’s employment.

      12.      The working conditions at Don’s Specialty Meats, Inc. so intolerable

that a reasonable employee in the circumstances would feel compelled to resign.

               N.    On or about July 10, 2020, Mr. Arceneaux resigned.

               O.    Don’s Specialty Meats, Inc. purportedly “disciplined” the

      supervisor by prohibiting her from wearing her Don’s Specialty Meats, Inc.

      shirt for about a day. Don’s did not take any prompt, remedial action in

      regard to the harassment. Don’s Specialty Meats, Inc. did not otherwise

      discipline on any manager or supervisor.

      13.      The effect of Don’s Specialty Meats, Inc.’s unlawful employment

practices complained of above has been to deprive Mr. Arceneaux of equal

employment opportunities and otherwise adversely affect his status as an employee

because of his race in violation of Title VII.

      14.      The unlawful employment practices complained of above were

intentional.
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      15.    Don’s Specialty Meats, Inc. acted with malice and/or reckless

indifference to the federally protected rights of Mr. Arceneaux when it engaged in

the unlawful employment practices complained of above.

                                 PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court:

             A.    Grant a permanent injunction enjoining Don’s Specialty Meats,

     Inc. its officers, agents, servants, employees, attorneys, and all persons in

     active concert or participation with it, from discriminating against its

     applicants or employees because of race.

             B.    Order Don’s Specialty Meats, Inc. to institute and carry out

      policies, practices, and programs that provide equal employment

      opportunities for applicants and employees who are African American and

      that eradicate the effects of its past and present unlawful employment

      practices.

             C.    Order Don’s Specialty Meats, Inc. to make Mr. Arceneaux whole,

      by providing appropriate back pay with prejudgment interest, in amounts to

      be determined at trial, and other affirmative relief necessary to eradicate the

      effects of its unlawful employment practices, including but not limited to

      reinstatement and/or front pay.

             D.    Order Don’s Specialty Meats, Inc. to post and keep posted the

      notices required by Title VII, 42 U.S.C. § 2000e-10(a).

             E.    Order Don’s Specialty Meats, Inc. to make and preserve all

      records relevant to the determination of whether unlawful employment
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      practices have been or are being committed, in accordance with Title VII, 42

      U.S.C. § 2000e-8(c).

             F.    Order Don’s Specialty Meats, Inc. to make Mr. Arceneaux whole

      by providing compensation for past and future pecuniary losses resulting

      from the unlawful employment practices described above, including job-

      search and medical expenses, in amounts to be determined at trial.

             G.    Order Don’s Specialty Meats, Inc. to make Mr. Arceneaux whole

      by providing compensation for past and future nonpecuniary losses resulting

      from the unlawful practices complained of above, including but not limited to

      emotional pain and suffering, inconvenience, and humiliation, in amounts to

      be determined at trial.

             H.    Order Don’s Specialty Meats, Inc. to pay punitive damages for

      its malicious and/or reckless conduct, as described above, in amounts to be

      determined at trial.

             I.    Grant such further relief as the Court deems necessary and

      proper in the public interest.

             J.    Award the Commission its costs of this action.

                                JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by this

Complaint that are triable to a jury.

                                             Respectfully submitted,

                                             Rudy L. Sustaita
                                             Regional Attorney
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